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Herbert G. Grey, OSB # 810250         Kristen K. Waggoner, OSB # 067077
4800 SW Griffith Drive, Suite 320      Lead Counsel
Beaverton, Oregon 97005-8716          Email: kwaggoner@ADFlegal.org
Telephone: (503) 641-4908             David A. Cortman, GA Bar # 188810*
Email: herb@greylaw.org               Email: dcortman@ADFlegal.org
                                      Ryan J. Tucker, AZ Bar # 034382*
Gene C. Schaerr, DC Bar # 416368*     Email: rtucker@ADFlegal.org
Email: gschaerr@schaerr-jaffe.com     Mark A. Lippelmann, AZ Bar # 036553*
Nicholas Miller, MI Bar# P70694*      Email: mlippelmann@ADFlegal.org
Email: nmiller@schaerr-jaffe.com      Alliance Defending Freedom
Joshua J. Prince, DC Bar # 1685532*   15100 N. 90th Street
Email: jprince@schaerr-jaffe.com      Scottsdale, Arizona 85260
Schaerr | Jaffe LLP                   Telephone: (480) 444-0020
1717 K Street NW, Suite 900
Washington, D.C. 20006                * Admitted pro hac vice
Telephone: (202) 787-1060
* Admitted pro hac vice               Counsel for Defendants-Intervenors
                                      Western Baptist College d/b/a Corban
Counsel for Defendant-Intervenor      University, William Jessup University
Council for Christian Colleges &      and Phoenix Seminary
Universities

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF OREGON
                             Eugene Division

ELIZABETH HUNTER, et al.,               No. 6:21-CV-00474-AA
               Plaintiffs,
               v.                       DEFENDANTS-INTERVENORS’
U.S. DEPARTMENT OF EDUCATION,           NOTICE OF SUPPLEMENTAL
et al.,                                 AUTHORITIES

               Defendants,
               v.
COUNCIL FOR CHRISTIAN
COLLEGES & UNIVERSITIES,
WESTERN BAPTIST COLLEGE d/b/a
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CORBAN UNIVERSITY, WILLIAM
JESSUP UNIVERSITY, AND
PHOENIX SEMINARY,
            Defendants-Intervenors.
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       Defendant-Intervenors the Council for Christian Colleges & Universities,

Corban University, William Jessup University, and Phoenix Seminary provide notice

of two recent, supplemental authorities from the Supreme Court, Carson v. Makin,

No. 20-1088, issued on June 21, 2022, and Kennedy v. Bremerton School District, No.

21-418, issued on June 27, 2022. The Carson opinion is attached as Exhibit A, and

the Kennedy opinion is attached as Exhibit B.

       A. Carson v. Makin, No. 20-1088

       The Court’s decision in Carson is sufficient to dispose of Plaintiffs’ claims. It

addressed whether Maine could constitutionally provide tuition assistance to some

parents while denying it to parents who chose to send their children to “sectarian”

schools. Maine considers a school sectarian if it (1) is “associated with a particular

faith or belief system” and (2) “promotes the faith or belief system with which it is

associated and/or presents the material taught through the lens of faith.” Carson, slip

op. 4. So defined, each of the schools attended by the Plaintiffs in this case is

“sectarian.”

       The Carson Court held that states cannot, consistent with the Free Exercise

Clause, “identify and exclude otherwise eligible schools on the basis of their religious

exercise.” Id. at 18 (emphasis added). Thus, if the government decides to “subsidize

private education,” it cannot “disqualify some private schools solely because they are

religious” or “because of their religious exercise.” Id. at 8, 11 (citations omitted). Any

departure from that kind of religious neutrality would be subject to, and presumably

fail, “the strictest scrutiny.” Id. at 9-10.
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      So too here: It would violate the First Amendment for the federal government

to fund education at private secular universities but to deny funding for education at

private religious schools, either because of those schools’ religious character or

because of their adherence to religious teachings and practices. Id. at 11-18.1

Accordingly, the Supreme Court’s holding in Carson seriously undermines the

Plaintiffs’ argument that private schools receiving Title IX funding are free to

maintain private religious beliefs regarding gender and sexual morality but may not

exercise those beliefs. Because the Title IX exemption merely ensures compliance

with the First Amendment, as articulated in Carson, it cannot, as Plaintiffs claim, be

unconstitutional.

      The Court in Carson also rejected Maine’s attempt to “recast a condition on

funding” through a more general formulation—there, “offering a free public

education”—that would “subsume the challenged condition,” that is, that the school

be non-sectarian. Id. at 11, 13 (citations omitted). The Court explained that such

attempts improperly “reduce[ the First Amendment] to a simple semantic exercise”

and run the risk of creating “religious gerrymanders.” Ibid. (citations again omitted).

      That very risk is illustrated by this case, in which Plaintiffs seem to find the

Title IX religious exemption acceptable for religious schools that lack religious

policies with which Plaintiffs disagree, but object to the application of that same

exemption for schools that embrace those policies. See ECF No. 109 at 12-13


1 The Court also emphasized that, when the government scrutinizes “whether and

how a religious school pursues its educational mission,” it raises “serious concerns
about state entanglement with religion and denominational favoritism.” Id. at 17.



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(explaining risks of Plaintiffs’ theory). Such religious gerrymanders themselves

violate the First Amendment. See, e.g., Larson v. Valente, 456 U.S. 228, 244 (1982).

       B. Kennedy v. Bremerton School District, No. 21-418

       The majority opinion in Kennedy also provides ample reason to reject Plaintiffs’

claims. In that case, guided by an erroneous view of the Establishment Clause,

Bremerton School District had terminated a coach for offering a quiet prayer of

thanks after his games. Kennedy, slip op. 1. The majority explained that the

“‘ahistorical, atextual’ approach to discerning ‘Establishment Clause violations’”

addressed in Lemon v. Kurtzman, 403 U.S. 602 (1971), a case relied on by Plaintiffs

here, e.g., ECF No. 64 at 32-35, had long ago been abandoned. Kennedy, slip op. 10-

11 (quoting Kennedy v. Bremerton Sch. Dist., 4 F.4th 910, 945 (9th Cir. 2021)

(dissental of R. Nelson, J.)).2 And, given that abandonment, the Court explained that

courts applying Lemon do so in error. Id. at 24; accord Kennedy, dissenting slip op.

28 (Sotomayor, J., dissenting) (“The Court now goes much further, overruling Lemon

entirely and in all contexts.”).

       Rather than apply the now-dead (or still-dead) Lemon test, the Supreme Court

now directs that courts look to “historical practices and understandings” and

constitutional text to determine whether a government practice violates the

Establishment Clause. Id. at 23. Among those understandings is the fact that the



2 See also Shurtleff v. City of Bos., Massachusetts, 142 S. Ct. 1583, 1606-07, 10 (2022)

(Gorsuch, J., concurring in the judgment) (explaining that Lemon has “long … been
exposed as an anomaly and a mistake” that has not been “applied … for nearly two
decades” because of its “flaws” and rejecting attempts to “drag [it] once more from its
grave”).

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Establishment Clause lacks the “modified heckler’s veto” that Plaintiffs invite the

Court to apply here—a rule that would allow “religious activity [to] be proscribed”

because of Plaintiffs’ “perceptions” or “discomfort.” Id. at 22 (quoting Good News Club

v. Milford Central School, 533 U.S. 98, 119 (2001)). Kennedy thus makes clear that,

in this case, the Department has not violated the Establishment Clause by failing to

censor the private speech or free exercise of religious schools receiving federal

funding. Id. at 22-23 (citations omitted).

      The Kennedy Court also reiterated that the Free Exercise Clause subjects to

strict scrutiny laws burdening the free exercise of religion that lack general

applicability. Id. at 12. As Defendant-Intervenors have made clear elsewhere, Title

IX, with its multiple secular exceptions, is not generally applicable. E.g., ECF No. 137

at 33-35; see also ECF No. 92 at 7 n.8 (same conclusion from the Department). Under

Kennedy, then, if Title IX were interpreted to impinge on religious colleges’ religious

practices, its application to those colleges would likewise be subject to strict

scrutiny—a burden that Plaintiffs here could not possibly meet.

      In short, the Establishment Clause provides no basis for invalidating the Title

IX exemption, and Kennedy reiterates what has long been true: Given its numerous

secular exceptions, Title IX would violate the Free Exercise Clause if it did not also

exempt religious activity.




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                                  CONCLUSION

      The holding in Carson disposes of the claims here and supports the

Intervenors’ Joint Motion to Dismiss (ECF No. 137) and Joint Opposition to Plaintiffs’

Motion for Preliminary Injunction (ECF No. 109). Under Carson, the Department of

Education cannot simultaneously fund (or facilitate funding of) secular private

colleges and universities while denying such funding to religious colleges and

universities because of their religious exercise. Similarly, the Kennedy majority

explained (and the dissenters agreed) that Lemon, the principal authority relied upon

by Plaintiffs for their Establishment Clause claim, is no longer good law. Thus, what

was clear before is even clearer now: The motion for a preliminary injunction should

be denied, and the case should be dismissed.

June 30, 2022                              Respectfully submitted.

/s/ Gene C. Schaerr                        /s/ Mark A. Lippelmann
Gene C. Schaerr, DC Bar # 416368*          Kristen K. Waggoner, OSB # 067077
Email: gschaerr@schaerr-jaffe.com            Lead Counsel
Nicholas Miller, MI Bar# P70694*           Email: kwaggoner@ADFlegal.org
Email: nmiller@schaerr-jaffe.com           David A. Cortman, GA Bar # 188810*
Joshua J. Prince, DC Bar # 1685532*        Email: dcortman@ADFlegal.org
Email: jprince@schaerr-jaffe.com           Ryan J. Tucker, AZ Bar # 034382*
Schaerr | Jaffe LLP                        Email: rtucker@ADFlegal.org
1717 K Street NW, Suite 900                Mark A. Lippelmann, AZ Bar # 036553*
Washington, D.C. 20006                     Email: mlippelmann@ADFlegal.org
Telephone: (202) 787-1060                  Alliance Defending Freedom
/s/ Herbert G. Grey                        15100 N. 90th Street
Herbert G. Grey, OSB # 810250              Scottsdale, Arizona 85260
4800 SW Griffith Drive, Suite 320          Telephone: (480) 444-0020
Beaverton, Oregon 97005-8716
Telephone: (503) 641-4908                  * Admitted pro hac vice
Email: herb@greylaw.org                    Counsel for Defendants-Intervenors
                                           Western Baptist College d/b/a Corban


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* Admitted pro hac vice                  University, William Jessup University
Counsel for Defendant-Intervenor         and Phoenix Seminary
Council for Christian Colleges &
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                          CERTIFICATE OF SERVICE

      I certify that I served this document was served on all counsel of record by ECF

on June 30, 2022.


                                             /s/ Gene C. Schaerr
                                             Gene C. Schaerr
                                             Counsel for Defendant-Intervenor
                                             Council for Christian Colleges &
                                             Universities




7 – Defendant-Intervenors’ Notice of Supplemental Authorities
